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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


  ERROL A. HENDERSON,
                                            Civil Action No. 4:21-cv-00872
                    Plaintiff,
                                            (Honorable Matthew W. Brann)
                     v.

  THE PENNSYLVANIA STATE                    Electronically Filed
  UNIVERSITY,

                    Defendant.


                            JOINT STATUS REPORT

      Pursuant to the Court’s August 8, 2022 Order (ECF No. 35) and in accordance

with the October 7, 2022 Joint Status Report (ECF No. 36), Plaintiff Errol A.

Henderson and Defendant The Pennsylvania State University (“Defendant”)

(collectively, the “Parties”), by and through their undersigned attorneys, report that

they participated in private mediation on December 12, 2022. During the mediation,

the Parties reached an agreement and are finalizing the terms of the settlement

agreement. The Parties propose that they provide the Court with a further status

update by January 30, 2023. As such, the Parties request that the Court (1) maintain

its Stay of Proceedings until and including January 30, 2023 and (2) provide that the

Parties submit another Joint Status Report on or before January 30, 2023.
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Date: December 22, 2022                  Respectfully,

 /s/ Rahul Munshi                        /s/ Sarah E. Bouchard
Stephen G. Console (PA 36656)            Sarah E. Bouchard (PA 77088)
Rahul Munshi (PA 307548)                 Ali M. Kliment* (PA 318988)
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                                         Counsel for Defendant




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                       CERTIFICATION OF SERVICE

      I, Sarah E. Bouchard, hereby certify that on this 22nd day of December, 2022,

a true and correct copy of the Joint Status Report was served upon the following by

electronic filing with the Clerk of the United States District Court for the Middle

District of Pennsylvania, and is available for viewing and downloading from the

ECF system:


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                                            /s/ Sarah E. Bouchard
                                            Sarah E. Bouchard
